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 9 Attorneys for the United States of America

10
                                    UNITED STATES DISTRICT COURT
11
                                  NORTHERN DISTRICT OF CALIFORNIA
12
                                        SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                      ) CASE NO CR 20-321 EMC
                                                    )
15           Plaintiff,                             ) STIPULATION TO CONTINUE SENTENCING
                                                    ) AND [PROPOSED] ORDER
16      v.                                          )
                                                    )
17   YONG HENG LIANG, a/k/a Colin Liang,            )
                                                    )
18           Defendant.                             )
                                                    )
19                                                  )
                                                    )
20

21           On May 26, 2021, defendant Yong Heng Liang a/k/a Colin Liang pleaded guilty to Count One of
22 the Indictment pursuant to a plea agreement with the government. Sentencing for defendant is currently

23 set for December 15, 2021, at 2:30 p.m. However, lead government counsel, AUSA Sampson, will be

24 on extended leave and thus unavailable on December 15, 2021. To ensure the availability of lead

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     STIPULATION TO CONTINUE SENTENCING AND [PROPOSED] ORDER
     CR 20-321 EMC                           1
             Case 3:20-cr-00321-EMC Document 117 Filed 12/08/21 Page 2 of 3




 1 government counsel, the parties jointly request that the sentencing hearing be continued until February

 2 10, 2022, at 9:00 a.m.

 3          IT IS SO STIPULATED.

 4 DATED: December 8, 2021                                       /s/                  ___
                                                        BENJAMIN KINGSLEY
 5                                                      COLIN C. SAMPSON
                                                        Assistant United States Attorneys
 6

 7                                                               /s/               ___
                                                        NAOMI CHUNG
 8                                                      BRENDAN HICKEY
                                                        MARIA GUERRA
 9                                                      Counsel for Defendant Yong Heng Liang

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     STIPULATION TO CONTINUE SENTENCING AND [PROPOSED] ORDER
     CR 20-321 EMC                           2
            Case 3:20-cr-00321-EMC Document 117 Filed 12/08/21 Page 3 of 3




 1                                         [PROPOSED] ORDER

 2         The sentencing hearing scheduled for December 15, 2021 at 2:30 p.m. is continued until

 3 February 10, 2022, at 9:00 a.m.

 4         IT IS SO ORDERED.

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 6 DATED:
                                                              HON. EDWARD M. CHEN
 7                                                            UNITED STATES DISTRICT JUDGE

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     STIPULATION TO CONTINUE SENTENCING AND [PROPOSED] ORDER
     CR 20-321 EMC                           3
